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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    FORT PIERCE DIVISION

 GARY L. McCLAIN,

         Plaintiff,                                           CASE NO.

 v.

 CENTRAL CREDIT SERIVES, INC.,

       Defendant.
 _____________________________________/

                 VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiff, GARY L. McCLAIN (“Plaintiff”), by and through the

 undersigned attorneys, KROHN & MOSS, LTD., and for Plaintiff’s Complaint against

 Defendant, CENTRAL CREDIT SERIVES, INC., (“Defendant”), alleges and affirmatively

 states as follows:

                                        INTRODUCTION
         1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

 Act, 15 U.S.C. 1692 et seq. (FDCPA).

                                  JURISDICTION AND VENUE
         2.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

 such actions may be brought and heard before “any appropriate United States district court

 without regard to the amount in controversy.”

         3.      Because Defendant conducts business in the State of Florida, personal

 jurisdiction is established.

         4.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




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                                              PARTIES
        5.      Plaintiff is a natural person who resides in Fort Pierce, St. Lucie County, Florida

 and is obligated or allegedly obligated to pay a debt and is a “consumer” as that term is defined

 by 15 U.S.C. 1692a(3).

        6.      Plaintiff is informed, believes, and thereon alleges, that Defendant is a national

 company with a business office in Jacksonville, Duval County, Florida.

        7.      Defendant acted through its agents, employees, officers, members, directors,

 heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

        8.      Plaintiff is informed, believes, and thereon alleges, that Defendant uses

 instrumentalities of interstate commerce or the mails in any business the principal purpose of

 which is the collection of any debts, or who regularly collects or attempts to collect, directly or

 indirectly, debts owed or due or asserted to be owed or due another and is a "debt collector" as

 that term is defined by 15 U.S.C. § 1692a(6).

                                   FACTUAL ALLEGATIONS
        9.      Beginning in or around August 2011, Defendant constantly and continuously

 places collection calls to Plaintiff regarding an alleged Chase credit card debt

        10.     Defendant calls Plaintiff’s home telephone at (772) 489-5906 and mobile phone

 at (321) 794-6038.

        11.     Defendant calls Plaintiff from various numbers including: (904) 371-5433, (888)

 904-2800, (800) 387-7202, (904) 562-6650, (904) 371-5540 and (904) 562-6650.

        12.     Defendant calls Plaintiff two (2) to five (5) times a day.

        13.     For example, on September 17, 2011, Defendant called Plaintiff four (4) times

 and on October 4th, 2011 Defendant called Plaintiff five (5) times in a single day.




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           14.   At the outset of the calls, Plaintiff asked for Defendant to send him something in

 writing and to stop calling but, to date, Plaintiff has not received anything in writing from

 Defendant and the calls continue.

           15.   Since August 2011, Defendant has left approximately 37 voice messages on

 Plaintiff’s answering machine.

           16.   In its calls to Plaintiff, Defendant fails to disclose the Defendant’s identity and

 the purpose of each call, to wit: “This is an attempt to collect a debt. This communication is

 from a debt collector.”


                               COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                     (FDCPA), 15 U.S.C. § 1692 et seq.

           16.   Defendant violated the FDCPA. Defendant’s violations include, but are not

 limited to the following:

           a)    Defendant violated §1692d of the FDCPA by engaging in conduct of which the

 natural result is the abuse and harassment of the Plaintiff;

           b)    Defendant violated §1692d(6) of the FDCPA by placing collection calls without

 meaningful disclosure of the caller’s identity.

           c)    Defendant violated §1692e of the FDCPA by engaging in false, deceptive, or

 misleading representation in connection with the debt collection.

           e)    Defendant violated §1692e(11) of the FDCPA by failing to disclose in the initial

 and subsequent communications with the Plaintiff that the debt collector is attempting to collect

 a debt.




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         WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

 Defendant for the following:


         17. Statutory damages of $1,000.00 pursuant to the FDCPA, 15 U.S.C. 1692k;

         18. Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. 1692k; and

         19. Any other relief that this court deems to be just and proper.



                                               RESPECTFULLY SUBMITTED,

                                                 By: /s/ Shireen Hormozdi
                                                      Shireen Hormozdi
                                                      Krohn & Moss, Ltd
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                                  DEMAND FOR JURY TRIAL

         PLEASE TAKE NOTICE that Plaintiff, GARY L. McCLAIN, hereby demands trial by

 jury in this action.




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